           Entered: August 13th, 2019
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           Signed: August 13th, 2019

           SO ORDERED
           As amended. This order does not waive the provisions of FRBP 4001(a)(3).




                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                          FOR THE DISTRICT OF MARYLAND
                                                                BALTIMORE DIVISION
                              In re:
                              SARAH E. CONLIN
                                                                                               CHAPTER 7
                              FKA SARAH E. CURRY,
                                                DEBTOR.                                        CASE NO. 19-16802
                              SPECIALIZED LOAN SERVICING LLC, AS
                              SERVICING AGENT FOR THE BANK OF NEW
                              YORK MELLON FKA THE BANK OF NEW YORK,
                              AS TRUSTEE FOR THE CERTIFICATEHOLDERS
                              OF THE CWABS, INC., ASSET-BACKED
                              CERTIFICATES, SERIES 2006-25,
                                         MOVANT,
                              vs.
                              SARAH E. CONLIN
                              and CHARLES R. GOLDSTEIN, TRUSTEE,
                                                RESPONDENTS.
                                              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

                                        The Motion for Relief from the Automatic Stay filed by Specialized Loan Servicing LLC, as
                              servicing agent for The Bank of New York Mellon FKA The Bank of New York, as Trustee for the
                              certificateholders of the CWABS, Inc., ASSET-BACKED CERTIFICATES, SERIES 2006-25, its
                              assignees and/or successors in interest (“Movant”), the Trustee having filed a Report of No
                              Distribution on July 9, 2019,no responsive opposition having been filed with the Court by the
                              Trustee, Debtor, or Counsel for Debtor; it is by the United States Bankruptcy Court for the District of
                              Maryland,
                                        ORDERED that relief from the automatic stay of 11 U.S.C. §362(a) in the above- captioned
                              case is granted in favor of Movant and as to any purchaser at a foreclosure sale conducted at the
                              direction of the Movant under the provisions of applicable nonbankruptcy law, and the Deed of
                              Trust dated November 10, 2006, regarding the real property commonly known as 14 Luffing
                              Court, Baltimore, MD 21221, also referred to as 14 Luffing Court, Essex, MD 21221, and
                              recorded among the land records of the County of Baltimore, Maryland.
                                        ORDERED that entry of this Order shall be deemed to constitute relief from the Automatic



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Stay as to any interest the Chapter 7 Trustee may have in the subject property.
        ORDERED that in the event of foreclosure, if the Debtor fails to voluntarily vacate the
premises the successful purchaser may pursue the necessary legal means to obtain possession of
the property.
        ORDERED that in the event of foreclosure sale of the subject property is consummated
and surplus funds exist as a result of such sale, a copy of the Report of Sale and all Auditor’s
reports shall be served on the Bankruptcy Trustee.
        ORDERED that upon filing of the Report of Sale, the auditor shall be notified of the name
and the address of the Bankruptcy Trustee to whom the surplus must be paid.
        ORDERED that the provisions set forth in this Order shall apply to any subsequent
assignee of the Movant and/or their successors in interest.




                                            SERVICE LIST
                   Sarah E. Conlin
                  9313 Perglen Rd.
                                                                       Debtor
                Nottingham, MD 21236

                Nicholas J. DelPizzo, III
                7222 Holabird Avenue
                                                                 Counsel for Debtor
                 Baltimore, MD 21222

                 Charles R. Goldstein
                  111 S. Calvert St.
                      Suite 1400                                 Chapter 7 Trustee
                 Baltimore, MD 21202

 Specialized Loan Servicing LLC, as servicing
 agent for The Bank of New York Mellon FKA
  The Bank of New York, as Trustee for the
    certificateholders of the CWABS, Inc.,
 ASSET-BACKED CERTIFICATES, SERIES
                                                                       Movant
                    2006-25
             8742 Lucent Boulevard
                   Suite 300
         Highlands Ranch, CO 80129

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                   END OF ORDER
